CaSe 1-16-40104-nh| DOC 32 Filed 05/03/16 Entered 05/03/16 09211233

UN|TED STATES BANRUPTCY COURT
EASTERN D|STR|CT OF NEW YORK

 

 

x
lN RE: CASE NO: 16-40104-nh|
A|XA MU|R, SECOND AMENDED
CHAPTER 13 PLAN
DEBTOR(S).
x
1. The future earnings of the Debtors are submitted to the supervision and control

of the Trustee and the Debtors shall pay to the Trustee the sum of:

o $2,711.87 commencing February 1, 2016, through and including,
January 1, 2021 for a period of sixty (60) months.

2. From the payments so received, the Trustee shall make disbursements as
follows:

(a) Ful| payments in deferred cash payments of all claims entitled to priority under
11 U.S.C. § 507

chen Loan Servicing c/o Aames Homes Loan (First and only mortgage lien holder
on the property known as 1192 Bushwick Avenue, Brooklyn, New York 11221,
account number ending 5574) will be paid $0.00 of its pre-petition mortgage arrears in
the sum of $0.00 over the life of the Plan. Said arrears are to be waived (or in the
alternative, capitalized) under a loan modification under the Courts Loss l\/litigation
Program as provided for in Genera| Order #582 in the United States Bankruptcy Court
for the Eastern District of New York.

The Debtor's post-petition mortgage payments to chen Loan Servicing c/o Aames
Home Loan under a loss mitigation calculation with a principal balance of $516,947.50
to be paid at 2% interest amortized over 30 years will amount to a Principal and
interest payment of $1,910.74.

Additional|y, the estimated amount for escrow (real estate taxes, homeowner
insurance, etc.) will amount to $441.33.

The combined monthly payment of Principal and lnterest, together with escrow,
totaling $2,352.07, and the monthly Chapter 13 Plan payment of $359.80, totaling
$2,711.87, will be remitted directly to the Chapter 13 Trustee until such time as the
Debtor has entered into a trial loan modification under the Loss Mitigation Program.

Contemporaneous with the commencement of a trial loan modification, the Debtor will
amend the Chapter 13 Plan and Schedule J of the Debtor's petition to reflect the
terms of the trial agreement with chen Loan Servicing c/o Aames Home Loans.

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Debtor is hereby surrendering any and all interest she owns in the property located at
102-03 216th Street, Jamaica, NY, 11429.

lt should be noted that the Co-Borrower of the home located at 102-03 216th Street,
Jamaica, NY 11429, Armando L. Muir, is the brother of the Debtor.

lt should also be noted that NationStar Mortgage (Claim #2 on the court docket) will
not be paid post-petition or pre-petition mortgage payments as part of the Debtor's
Chapter 13 Plan.

ALL POST-PET|T|ON PAYMENTS, lNCLUD|NG BUT NOT LIMITED TO, lNCOME
TAXES, TO BE MADE OUTS|DE THE PLAN BY THE DEBTCR.

(b) Subsequent to distribution to secured creditors, dividends to unsecured
creditors whose claims are duly allowed as follows:

o Pro rata distribution to a|| timely filed proofs of claim not less than 2% to
unsecured creditors

3. The following executory contracts of the Debtors are assumed as foilows:
NONE

4. ln addition to monthly plan payments, commencing with the 2015 tax year and
during the pendency of this case, the debtor will provide the Trustee with signed copies of
filed federal and state returns for each year no later than Apri| 15th of the year following the
tax period. indicated tax refunds are to be paid to the Trustee upon receipt; however no later
than June 15th of the year in which the tax returns are filed.

5. Title to the Debtor's property shall re-vest in the Debtor upon confirmation of
the Plan, unless othen/vise provided in the order confirming this plan.

    
   
  

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g ee that the Debtors will not
ter 13 Trustee in writing.

6. Throughout the term of this Plan, the Debtor
incur post-petition debt over $2,500.00 without notifying th Ch

 

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